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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 17-5204 September Term, 2018

1:14-cv-01523-RCL
Filed On: March 8, 2019 [1776688]

Brittany Montrois, Class of More Than

700,000 Similarly Situated Individuals and

Businesses, et al.,

Appellees
V.

United States of America,

Appellant

MANDATE
In accordance with the judgment of March 1, 2019, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.
FOR THE COURT:
Mark J. Langer, Clerk
BY: /s/

Ken R. Meadows
Deputy Clerk

Link to the judgment filed March 1, 2019

 
